UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

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TIMOTHY D. LAURENT, et al.,              :
                                         :
On behalf of themselves and all          :
others similarly situated,               :
                                         :
                      Plaintiffs,        : 06 CV 2280 (JPO)
              v.                         :
                                         :
PRICEWATERHOUSECOOPERS LLP, et al., :
                                         :
                             Defendants. :
                                         :


                             FINAL ORDER AND JUDGMENT

       On October 31, 2022, this Court entered an order that granted preliminary approval of the

Settlement and approved the form and manner of the Mailed Notice and Publication Notice (the

“Preliminary Approval Order”) to be provided to the Class. (ECF No. 300)

       On January 27, 2023, the Court held a fairness hearing (the “Fairness Hearing”), for

which the Class had been given appropriate notice. A full and fair opportunity to be heard was

given to all persons who requested to be heard in accordance with the Preliminary Approval

Order, the Mailed Notice, and the Publication Notice. Having considered the Parties’ moving

papers, the Settlement Agreement (“Agreement”), and all other evidence concerning the Motion

for Final Approval of the Settlement, and this Court having been duly advised in the premises,

       IT IS HEREBY ORDERED AND ADJUDGED:

       1.     The Court has jurisdiction over the subject matter of this Litigation, Plaintiffs, the

Class Members, and Defendants pursuant to 29 U.S.C. § 1132(e).
       2.      The Agreement, together with all of its exhibits (as filed with the Court), is

incorporated in this Judgment, and to the extent not otherwise defined herein, all capitalized

words, terms and phrases used in this Judgment shall have the same meaning as used in the

Agreement. The terms of the Agreement, including all exhibits to the Agreement, shall be

forever binding on the Class Members.

       3.      In the Preliminary Approval Order, and consistent with its prior certification, see

ECF No. 175, Laurent v. PricewaterhouseCoopers, LLP, 2014 WL 2893303 (S.D.N.Y. June 26,

2014), and its order granting partial summary judgment, ECF No. 276, Laurent v.

PricewaterhouseCoopers, LLP, 06-CV-2280 (S.D.N.Y. September 30, 2021), the Court certified

the Class as a non-opt-out class action pursuant to Fed. R. Civ. P. 23 consisting of, as described

in the Agreement:

               All persons (“participants”) who accrued benefits after June 30,
               1994 under the Retirement Benefit Accumulation Plan for
               Employees of Price Waterhouse LLP or the Retirement Benefit
               Accumulation Plan for Employees of PricewaterhouseCoopers
               LLP, who held a Cash Balance Account and received (and/or
               whose alternate payees or whose beneficiaries or estates received)
               a lump sum payment under the Plan between March 23, 2000 and
               August 17, 2006 prior to such participants attaining age 65.

       4.      The Court determines that the Mailed Notice and Publication Notice (collectively,

the “Notices”), that were provided to the Class Members as required by the Preliminary

Approval Order constituted the best notice practicable under the circumstances and provided

adequate notice to all Class Members. The Notices complied with Rule 23 of the Federal Rules

of Civil Procedure and the United States Constitution (including the Due Process clause). The

Notices were calculated under the facts of this Litigation to apprise Class Members of the

proposed Settlement and of their right to object to and be heard regarding the Settlement and the




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application for Class Counsel’s attorneys’ fees, costs and expenses, Named Plaintiffs’ Service

Awards, and Settlement Administration Costs.

       5.      The form and manner of the CAFA Notice provided by the Plan pursuant to the

Class Action Fairness Act of 2005, 28 U.S.C. § 1715 (“CAFA”) fully complied with CAFA.

       6.      In response to the Notices, no Class Members submitted timely objections to the

Settlement. No objections were presented at the Fairness Hearing. .

       7.      After considering (i) whether the Agreement was a product of fraud or collusion;

(ii) the complexity, expense, and likely duration of the Litigation; (iii) the stage of the

proceedings and discovery conducted; (iv) the possible range of recovery and the difficulties of

calculating damages; and (v) the respective opinions of the Plaintiffs, Class Counsel, Defendants

and Defense Counsel, the Court finally approves the Agreement including, but not limited to, the

Plan of Allocation, in all respects as fair, reasonable, adequate, and in the best interests of the

Class Members pursuant to Fed. R. Civ. P. 23(e). No Class Member may opt out of the

Settlement.

       8.      The Court finds that the requested Settlement Administration Costs in the amount

of $125,000 is reasonable to carry out the terms of the Agreement, and the Court approves

payment of these Settlement Administration Costs pursuant to the terms of the Agreement.

       9.      Class Counsel, previously appointed by this Court pursuant to Fed. R. Civ. P.

23(g), has sought an award of attorneys’ fees, exclusive of costs and expenses, in an amount not

to exceed one-third of the Total Settlement Amount.

       10.     Under Goldberger v. Integrated Resources Inc., 209 F.3d 43 (2d Cir. 2000), “the

traditional criteria in determining a reasonable common fund fee, includ[e]: (1) the time and

labor expended by counsel; (2) the magnitude and complexities of the litigation; (3) the risk of



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the litigation; (4) the quality of representation; (5) the requested fee in relation to the [recovery];

and (6) public policy considerations.” Id. at 50. The Court finds, consistent with “‘a jealous

regard to the rights of those who are interested in the fund,’” id. at 53, that all six Goldberger

factors weigh in favor of a one-third award and Class Counsel’s requested fee award is hereby

approved.

        11.     The Court finds that the requested one-third fee is fair and reasonable in light of

the following facts and circumstances:

                (a)     Quality of Representation. After lengthy, successful proceedings in the

District Court including two partial summary judgments in the Class’s favor, and two successful

appeals in the Court of Appeals, Counsel achieved an exceptional recovery of the benefits that

the Class could have reasonably expected to receive had the litigation continued and the Class

prevailed through final judgment and appeal, against a formidable opponent represented by first-

rate legal counsel;

                (b)     Risk. Counsel faced very high risks of non-recovery from the inception of

the case through today, including very high merits risk, very high damage recovery risk, and

high-class certification risk that could have easily resulted in zero recovery for the Class and

Class Counsel—as is confirmed by the fact that this Court dismissed this case in its entirety with

prejudice in 2017;

                (c)     Scope and Magnitude. The case was exceedingly difficult and complex

and of considerable scope and extraordinarily long duration;

                (d)     Time and Effort. Class Counsel expended very significant time and

resources in prosecuting this action, all with no guarantee of payment;




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               (e)     Awards in Other Cases. The requested award compares favorably with

awards in large ERISA and other class action cases where courts, including many within this

Circuit, have awarded attorneys’ fees that equal or exceed the one-third fee sought here, in

circumstances that do not approach the efficacy and value that Class Counsel’s tenacity and

commitment—at great risk—created for the Class here;

               (f)     Public Policy. As a matter of public policy, the requested one-third fee

will help ensure that counsel in future meritorious cases will not hesitate to be equally persistent

and press forward as Class Counsel did here to achieve maximum recovery for their clients

despite the complications, difficulties, and risk.

       12.     When a percentage-of-the-fund approach is used, the Court may also use a

lodestar “cross-check” based on a summary of hours to test the reasonableness of the percentage.

Wal-Mart Stores, Inc. v. Visa U.S.A., Inc., 396 F.3d 96, 123 (2d Cir. 2005). Applying the

lodestar method as a cross check, this Court finds that the fee Class Counsel seeks is reasonable.

Based on Class Counsel’s reported lodestar, the requested one-third award equates to an implied

multiplier of 4.65 which is in line with implied multipliers approved in other comparable cases in

this Circuit and elsewhere.

       13.      The Court finds that the $489,484.38 in requested out-of-pocket litigation

expenses and costs incurred have been adequately documented, were reasonably incurred in

connection with the prosecution of the action, and are reasonable for a case of this complexity,

scope, and duration. Reimbursement of the requested amount is also hereby approved.

       14.     Plaintiffs Timothy Laurent and Smeeta Sharon, both of whom were deposed in

this action, are awarded Class Representative Service Awards of $50,000 and $40,000,

respectively, to be paid by Defendants pursuant to the terms of the Agreement. Based on the



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representations and submission by Plaintiffs’ counsel, the Court finds that the prospect of such

awards were reasonably necessary to encourage Plaintiffs to serve, are well-deserved and are

within the range of previous awards of this kind.

       15.     The Released Claims, as defined in the Agreement, are released and discharged as

of the Effective Date of the Settlement. Further, Releasors are enjoined and barred from

commencing or prosecuting, either directly or indirectly, any action in any other court concerning

or relating to any of the Released Claims against any Released Party directly, representatively,

derivatively, or in any other capacity, whether by a complaint, counterclaim, defense, or

otherwise, in any local, state, or federal court, or in any agency or other authority or forum

wherever located.

       16.     The Court recognizes that Defendants have denied and continue to deny

Plaintiffs’ and Class Members’ claims. Neither the Agreement, this Judgment, the Preliminary

Approval Order, drafts of such orders, any papers related to the Settlement, nor the fact of

Settlement shall be used as a finding or conclusion of the Court, or an admission of the Plan, or

any other person, of any fault, omission, mistake, or liability, nor as evidence of Plaintiffs’ lack

of conviction in the validity or strength of their claims, and shall not be offered as evidence of

any claimed liability in this or any other proceeding. Evidence of the Agreement and the orders

of this Court approving the same shall be admissible only in proceedings to enforce the

Agreement or this Judgment, but not as an admission of liability in the underlying Litigation.

The Final Order and Judgment is not a finding of the validity or invalidity of any of the claims

asserted or defenses raised in the Litigation.

       17.     Except as otherwise provided in the Agreement and in this Final Order and

Judgment, Plaintiffs and Class Members shall take nothing in this Litigation, and the Court



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hereby dismisses the claims of Plaintiffs and Class Members against the Plan with prejudice and

without costs.

       18.       Without affecting the finality of this Final Order and Judgment, the Court retains

jurisdiction to implement, interpret, or enforce this Final Order and Judgment, the Preliminary

Approval Order, and the Agreement.

       19.       In the event that the Settlement does not become final in accordance with the

terms of the Agreement, then this Final Order and Judgment shall be rendered null and void and

shall be vacated nunc pro tunc and the Litigation shall proceed, in those circumstances, as

described in the Agreement.

       20.       This is a final and appealable judgment.



The Clerk of Court is directed to close the motion at ECF No. 301, to enter this Judgment,

and to mark this case as closed on the docket.



       SO ORDERED.

Dated: New York, New York
       January 27, 2023
                                                       _________________________
                                                       J. PAUL OETKEN
                                                       United States District Judge




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